Case 9:19-cv-81179-RAR Document 57 Entered on FLSD Docket 05/14/2021 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 19-CV-81179-RAR

  ILLOOMINATE MEDIA, INC., and
  LAURA LOOMER,

         Plaintiffs,

  v.

  CAIR FLORIDA, INC., et al.,

        Defendants.
  ___________________________________/

                                 ORDER REFERRING MOTION

         THIS CAUSE comes before the Court upon sua sponte review of the record. On April

  12, 2021, Defendants filed a Joint Motion for Attorneys’ Fees and Additional Costs [ECF No. 55]

  (“Joint Motion”).

         Accordingly, it is ORDERED AND ADJUDGED that the Joint Motion [ECF No. 55] is

  REFERRED to United States Magistrate Judge Bruce E. Reinhart to take all necessary and proper

  action as required by law.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 13th day of May, 2021.




                                                        _________________________________
                                                        RODOLFO A. RUIZ II
                                                        UNITED STATES DISTRICT JUDGE
